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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                 Case No. 17-cv-24127-DPG

  NLG, LLC,

         Defendant/Appellant
  v.

  SELECTIVE ADVISORS GROUP, LLC, and
  LIZA HAZAN a/k/a ELIZABETH HAZAN,

         Plaintiffs/Appellees
                                                /


                                       NOTICE OF FILING

         Appellant NLG, LLC (“NLG”), through undersigned counsel, gives notice of filing of the

  following documents:

                 Motion to Quash Service of Process filed by Elizabeth Hazan
                 Case Name: JP Morgan Chase Bank NA v. Elizabeth Hazan et. al.
                 Case Number: 2013-025902-CA-01

         I hereby certify that I am admitted to the Bar of the United States District Court for the

  Southern District of Florida and I am in compliance with the additional qualifications to practice

  in this court set forth in Local Rules 2090-1(A).

                                                Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of foregoing was served via CM/ECF,
  email or U.S. Mail to the parties on the attached service list as indicated on this 24th day of
  September 2018.

                                              /s/ Astrid E. Gabbe
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